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             IN THE UNITED STATES DISTRICT COURT DISTRICT OF UTAH

                                     CENTRAL DIVISION



UNITED STATES OF AMERICA,                                MEMORANDUM DECISION AND
                                                                 ORDER
                  Plaintiff,
                                                                  Case No. 2:10cr577
v.

HUEY-NAN STEVE LIN,                                        District Judge Clark Waddoups

                  Defendant.                              Magistrate Judge Paul M. Warner



        This matter was referred to Magistrate Judge Paul M. Warner by District Judge Clark

Waddoups pursuant to 28 U.S.C. § 636(b)(1)(A).1 Before the court is Darrel J. Bostwick and

Steven D. Crawley’s motion to withdraw as counsel for Huey-Nan Steve Lin (“Defendant”).2

        On October 25, 2010, Daniel R. Widdison filed an appearance for Defendant.3 Civil rule

83-1.4(c)4 of the United States District Court for the District of Utah Rules of Practice provides

that




        1
            See docket no. 33.
        2
            See docket no. 31.
        3
            See docket no. 35.
        4
        Pursuant to criminal rule 57-12 of the United States District Court for the District of
Utah Rules of Practice, “[a]ll procedural matters relating to attorney admissions, registration, and
appearance and withdrawal, discipline and removal, and student practice in criminal matters are
governed by the applicable civil rules.” DUCrimR 57-12.
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       [w]henever an attorney of record in a pending case will be replaced by another
       attorney who is an active member of this court, a notice of substitution of counsel
       must be filed . . . . [and] (i) signed by both attorneys; (ii) include the attorneys’
       bar numbers; (iii) identify the parties represented; (iv) be served on all parties;
       and, (v) verify that the attorney entering the case is aware of and will comply with
       all pending deadlines in the matter.

DUCivR 83-1.4(c). Thus, the court will treat the instant motion together with the notice of

appearance as a notice of substitution of counsel under rule 83-1.4(c). Accordingly, IT IS

HEREBY ORDERED that the motion is GRANTED and Daniel R. Widdison is substituted as

counsel of record for Defendant in place of Darrel J. Bostwick and Steven D. Crawley.

       IT IS SO ORDERED.

       DATED this 2nd day of December, 2010.

                                             BY THE COURT:



                                             PAUL M. WARNER
                                             United States Magistrate Judge




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